                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

REBECCA TERRY,

                      Plaintiff,                         Case No. 17-CV-1112-JPS

v.

COUNTY OF MILWAUKEE,
RICHARD R. SCHMIDT, OFFICER
BRIAN WENZEL, UNKNOWN
EMPLOYEES OF MILWAUKEE
COUNTY JAIL, UNKNOWN JAIL
SUPERVISORS, ARMOR
                                                                           ORDER
CORRECTIONAL HEALTH
SERVICES INC., CAROLYN EXUM,
MORGAN BEVENUE, and
MARGARET HOOVER,

                      Defendants.


1.     INTRODUCTION

       Plaintiff Rebecca Terry (“Terry”), brings this action pursuant to 42

U.S.C. § 1983, alleging that her constitutional rights were violated when she

was ignored while she gave birth in a cell at the Milwaukee County Jail

(“MCJ”). See (Docket #129). Terry brings claims of denial of medical care in

violation of her Fourteenth Amendment right against Milwaukee County

(the “County”), Officer Brian Wenzel (“Wenzel”), Carolyn Exum, R.N.

(“Exum”), and Morgan Bevenue, R.N. (“Bevenue”), (collectively, the

“County Defendants”).1


       1The parties have stipulated to dismiss all claims against Nurse Margaret
Hoover. (Docket #186). Hoover was the only named defendant attached to Terry’s
claim for supervisor liability. Therefore, that claim is also dismissed. Additionally,



 Case 2:17-cv-01112-JPS Filed 01/11/19 Page 1 of 39 Document 210
       Terry asserts Monell claims related to her labor and delivery in the

jail against the County Defendants, acting Sheriff Richard Schmidt in his

official capacity (“Schmidt”), and Armor Correctional Services (“Armor”),

a private corporation that provides healthcare services to inmates at the

MCJ.2 She also asserts a Monell claim against the County Defendants

regarding their use of restraints in transporting and monitoring

hospitalized inmates. Under Monell, a municipal or corporate entity can be

liable under Section 1983 for constitutional violations if those violations are

brought about by (1) the entity’s express policy; (2) a widespread, though

unwritten, custom or practice, or (3) a decision by an agent with “final

policymaking authority.” Darchak v. City of Chicago Bd. of Educ., 590 F.3d

622, 629 (7th Cir. 2009). Both the County Defendants and Armor filed

motions for summary judgment. (Docket #162 and #169).3




Terry’s failure to intervene claims are waived because Terry failed to address them
in her omnibus summary judgment response. (See Docket #194 at 14).
        Terry also has yet to name the Unknown Employees of the Milwaukee
County Jail and the Unknown Jail Supervisors. She will have ten days following
this order to name them, otherwise they will be dismissed without further notice.
       2 To the extent that Terry sues Schmidt in his official capacity, any liability
on his part will be imposed on the County. Brandon v. Holt, 469 U.S. 464, 471–72
(1985). Thus, claims against Schmidt are duplicative, and will be dismissed. The
County Defendants argue that Terry’s claims against Schmidt in his individual
capacity should be dismissed; however, Terry has only named Schmidt as a
defendant in his official capacity. (Docket #129).
       3Armor and the County Defendants moved to seal certain documents filed
in support of their motions for summary judgment. (Docket #160, #168, and #196).
Terry also moved to file certain exhibits in support of her response to the motion
for summary judgment under seal. (Docket #185). In light of the sensitive
information contained in those documents, as well as the protective order in place,
(Docket #45), those motions will be granted.


                            Page 2 of 39
 Case 2:17-cv-01112-JPS Filed 01/11/19 Page 2 of 39 Document 210
2.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 56 provides that the court “shall

grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see Boss v. Castro, 816 F.3d 910, 916 (7th

Cir. 2016). A fact is “material” if it “might affect the outcome of the suit”

under the applicable substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986). A dispute of fact is “genuine” if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Id. The

court construes all facts and reasonable inferences in the light most

favorable to the nonmovant. Bridge v. New Holland Logansport, Inc., 815 F.3d

356, 360 (7th Cir. 2016). The court must not weigh the evidence presented

or determine credibility of witnesses; the Seventh Circuit instructs that “we

leave those tasks to factfinders.” Berry v. Chicago Transit Auth., 618 F.3d 688,

691 (7th Cir. 2010). The party opposing summary judgment “need not

match the movant witness for witness, nor persuade the court that her case

is convincing, she need only come forward with appropriate evidence

demonstrating that there is a pending dispute of material fact.” Waldridge

v. Am. Hoechst Corp., 24 F.3d 918, 921 (7th Cir. 1994).

3.     RELEVANT FACTS

       3.1       Night of March 9-10, 2014

       On the afternoon of March 9, 2014, Terry was arrested and taken to

the MCJ. Terry was 32 years old and nine months pregnant with her third

child. Terry was screened by Nurse Maggie Burton at around 6:28 p.m.

Terry informed Burton that she was a daily heroin user and that she was

due to deliver that day. Terry also stated that she felt pressure and




                            Page 3 of 39
 Case 2:17-cv-01112-JPS Filed 01/11/19 Page 3 of 39 Document 210
tightening,4 and that she felt a pain sensation that she was familiar with

from her other two births, which she associated with the baby dropping

right before labor.

        Burton arranged for the MCJ to send Terry to Froedtert Hospital

(“Froedtert”), where she was monitored for labor. Terry’s records from

Froedtert reveal that she was 80 percent effaced and 2 centimeters dilated,

and experienced “intermittent” contractions, some of which she slept

through. The hospital records also indicate that Terry was a daily heroin

user and had tested positive for opiates that day. After conducting an

ultrasound, Froedtert estimated that she was likely due around March 18,

2014.

        When Terry did not show any change in dilation or rate of

contractions, Froedtert concluded that Terry was “not currently in labr”

(sic) and released Terry back to the MCJ, where she was to receive

continued prenatal care. (Docket #174-11 at 21–23). Terry recalls the doctor

telling her that she was in the early stages of labor, and it was unclear how

fast labor would progress. The County Defendants deny that this was

communicated to them, though they admit that two correctional officers

were with Terry at Froedtert. Terry was restrained at the hospital, with one

wrist restraint and one leg iron. She was also transported to, and held at,

the hospital in leg irons, wrist restraints, and a belly chain.

        Terry returned to the MCJ around 1:00 am with incomplete

discharge paperwork from Froedtert Hospital. Specifically, the discharge

paperwork did not contain information detailing the tests that the Froedtert


        The parties dispute whether she specified that she felt this tightening in
        4

her lower abdomen; in any case, this is not material as Terry was sent to the
hospital to rule out labor.


                           Page 4 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 4 of 39 Document 210
medical staff had performed, what they recommended for a treatment plan,

or details about Terry’s condition.

       When Terry returned to the MCJ, Exum evaluated her for admittance

back to the jail. Exum knew that Terry was nine months pregnant, an opiate

user, and had just returned from Froedtert to rule out labor. Based on

Terry’s late stage pregnancy and opiate history, Exum also knew that Terry

was at risk of early labor. Terry told Exum that the hospital said she was in

labor but sent her back to jail anyway. Terry denied feeling contractions but

stated that she was experiencing pressure at the bottom of her stomach.

Exum checked for contractions but did not detect any.

       Exum contacted Dr. Gina Buono, who was the on-call physician that

night, to discuss Terry. Exum told Dr. Buono that Froedtert had medically

cleared Terry for admittance to the jail. Exum also explained that there were

no specific discharge orders. Dr. Buono instructed Exum to contact

Froedtert to receive an oral report and request Terry’s discharge

paperwork. Exum called Froedtert and spoke with an unidentified person,

who confirmed that Froedtert had ruled out labor for Terry, but did not

provide information regarding a treatment plan (particularly with regard

to the impending opiate withdrawal).5 Exum requested Terry’s discharge

papers by fax, then called Dr. Buono back.

       Based on Exum’s report, Dr. Buono approved Terry’s admittance to

the MCJ, and placed her in the Special Medical Unit (“SMU”), where she


       5 Terry correctly objects to this statement as hearsay, and it will not be relied
on to support the truth of the matter asserted, i.e., that Terry was not in labor.
However, the Court may consider Exum’s testimony insofar as it relates to the fact
that she called Froedtert. See U.S. v. Eberhart, 434 F.3d 935, 939 (7th Cir. 2006)
(statements may come in as “an explanation of why the investigation proceeded
as it did,” so long as jury instructions were properly limited).


                            Page 5 of 39
 Case 2:17-cv-01112-JPS Filed 01/11/19 Page 5 of 39 Document 210
could be closely monitored by medical staff. Exum also received approval

to begin the paperwork for the MCJ’s opiate protocol for heroin-addicted

mothers. (Docket #174-13 at 101:11–102:9). Meanwhile, Dr. Buono

instructed Exum to procure Terry’s discharge documents. Exum conducted

a standard, 20-minute medical examination of Terry, which included taking

her vitals. When Terry was admitted to the SMU at approximately 1:30 a.m.

on March 10, neither Dr. Buono nor Froedtert’s medical staff had ordered

additional nursing assessments.

       The SMU is located on the second floor of the MCJ, upstairs from

Exum’s booking station, and across the hall from the clinic. The SMU

consists of 11 cells arranged in a semi-circle, with an officer’s work station

at one end of the semi-circle. Cells 1-3 have two doors, whereas Cells 4-11

only have one door. Despite having two doors, it is possible to hear inmates

when standing outside of Cells 1-3. Additionally, each cell door has a

window, so an officer standing outside of the cell can see inmate activity

inside of the cell. Each cell is also equipped with a call apparatus that

activates a red light outside the cell door. This red light notifies the

correctional officer on duty to call the nurse in the clinic.

       During the night shift, from 11:00 p.m. to 6:00 a.m., the SMU is

staffed with one nurse, who sits in the clinic across the hall from the SMU,

and one correctional officer, who sits at a work station at the end of the

semi-circle of cells. It is the SMU nurse’s responsibility to know the medical

conditions of the inmates in the SMU, based on information provided from

the booking nurse. The SMU nurse working the night shift typically

performs at least two rounds to check on inmates in the SMU (at around

11:00 p.m. and 6:00 a.m.). When Terry arrived at the SMU around 1:45 a.m.,

Bevenue, the nurse on duty that night, had already performed her initial


                           Page 6 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 6 of 39 Document 210
round. Terry believes that Bevenue may have entered the SMU after Terry

was admitted.

      Wenzel was the correctional officer on duty at the SMU that night.

He worked in the SMU alone, and was the only person responsible for

periodically checking the inside of the cells of the SMU. Armor and the

County do not require officers to have any special medical training in order

to work at the SMU.

      Terry was the sixth inmate assigned to the SMU that night. She was

placed in Cell 3, which was located directly across from Wenzel’s desk.

Lieutenant Crystalina Montano (“Montano”), the supervisor on duty,

informed Wenzel that Terry was nine months pregnant and had just

returned from Froedtert Hospital because she was not in active labor.

Wenzel also learned that Terry was a heroin user and might experience

withdrawal.

      Soon after Terry arrived in the SMU, she began to experience

contractions. She screamed in pain, called for help, and activated the

emergency light, with no response from either Wenzel or Bevenue. She

pounded on the window of her cell door at least three times. All parties

agree that her water broke, and that at some point she took off her pants

and underpants. As her contractions became more frequent and painful,

she lay down on the bed and tried to breath though them.

      Part of Wenzel’s job was to make rounds approximately every thirty

minutes, which entailed walking past the 11 cells in the SMU and peering

through the window of each cell. He was supposed to log each of these

checks on his computer. It generally takes between one and two minutes to

perform each inspection of the SMU. Many of Wenzel’s entries from that

night show that he completed his inspections within a one-minute time-


                           Page 7 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 7 of 39 Document 210
frame. The computer log shows that Wenzel ostensibly performed checks

at 1:57 a.m., 2:27 a.m., 2:57 a.m., 3:11 a.m.,6 3:41 a.m., 3:57 a.m., and 4:27 a.m.

During Wenzel’s break, another officer conducted a check at 3:27 a.m. At

4:40 a.m., Montano entered the SMU on a supervisory round.

       At some point between 4:41 a.m. and 4:46 a.m., Terry delivered the

baby, which was blue and appeared to have difficulty breathing. Terry

reached into the baby’s throat and cleared mucus from the air passage. At

approximately 4:46 a.m., Wenzel made an emergency call, requesting

medical assistance for Terry.7 Nurses Exum, Hoover, and Bevenue

responded to the call, and Terry and the baby were transferred to Aurora

Sinai Hospital (“Aurora”) shortly thereafter. Terry has no recollection of

being restrained while she was transported to Aurora.

       In contrast to this series of events, the County Defendants claim that

no official knew that Terry was in labor, and that she gave no indication to

any person that she was going into labor. According to the County

Defendants, Bevenue and Wenzel performed their rounds dutifully and

neither heard nor saw a single out-of-the-ordinary thing until 4:46 a.m.,

when the faint cry of a baby (and a previously unnoticed red light) drew

Wenzel’s attention to the fact that Terry had (silently) given birth in her jail

cell. These facts are, clearly, in dispute.


       6Wenzel states that this was when he logged himself out for a break, and
that he did not perform an inspection at this time. (See Docket #174-21 at 158:20-
21).
       7Terry and Wenzel each state that the baby was already born by the time
Wenzel made the emergency call. Exum, on the other hand, remembers that the
baby was still in the birthing canal when she arrived on the scene. Exum also
remembers that she was the one to clear the baby’s airways. In any event, it is
undisputed that the baby was born in Terry’s jail cell and initially had trouble
breathing.


                           Page 8 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 8 of 39 Document 210
          Terry stayed in the hospital from March 10 to March 13, 2014 for

post-partum care and medical monitoring of her drug withdrawal. During

this time, she was restrained by her right wrist and left ankle. The wrist

restraint was removed at one point to allow Terry to hold her baby. The

wrist restraint was also switched to allow Terry to use a different arm for

the IV.

          3.2     Armor and the County’s Policies and Procedures

          Armor and the County have several policies that are relevant to

Terry’s Monell claims.

          Armor’s Receiving Screening Policy, J-E-02, revised May 3, 2013

predicates a hospitalized inmate’s readmission to the MCJ on receipt of

written documentation of treatment and follow-up recommendations.

(Docket #182-30 at 2). It was nevertheless common for patients to return to

jail from the hospital without adequate documentation about their

condition. Armor and MCJ were aware of this ongoing issue. Dr. Buono

described this as a recurrent problem not only with Armor and at MCJ, but

at the Wisconsin Department of Corrections as well. (Docket #174-14 at

62:17–64:24). She also described the measures that she takes to encourage

physicians to fill out the appropriate paperwork for inmates returning to

jail. Id. at 65:4–22. There is evidence that, in the absence of paperwork, the

MCJ staff were tasked with “hunting” down the hospital paperwork and

calling physicians in order to get appropriate orders. Id. at 65:1–66:3, 72:1–

10.

          Armor’s Pregnancy Management Policy, J-G-07, revised June 12,

2009, states that “[p]regnant patients who are on opiates other than

methadone and at risk for withdrawal will be protected from experiencing

withdrawal through aggressive medical management including specialty


                           Page 9 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 9 of 39 Document 210
consultation.” (Docket #190-1 at 3). The policy delineates various pregnancy

management and prenatal care practices, and notes that “[d]elivery will be

at the hospital designated by the provider of prenatal services to the extent

possible in accordance with facility operating procedures.” Id.

       Exum was trained by Armor and the County to call 911 if she

thought someone was in labor. (Docket #174-13 at 42:2–10; 43:7–14). Dr.

Buono stated that patients in labor should be in the hospital, and that she

would not put a patient in labor in the SMU. (Docket #174-14 at 36:15–19).

Wenzel was not trained in how to respond to pregnant inmates’ needs,

though he did understand that if an inmate “verbalize[s that] they are in

any sort of distress, you let somebody obviously higher trained than you

come in and assist them.” (Docket #174-21 at 45:1–7; see also id. at 95:21–22

(“When there is an emergency, we were trained to call master control.”)).

       The County’s restraint policy in March 2014 required all inmates

who went to the hospital to be restrained at two points, regardless of their

criminal history or individualized circumstances. (Docket #174-27 at 3–4).8

The policy, MMHS 13.7, required that “[i]nmates in the hospital will be

restrained by a handcuff and a leg iron attached to the side rail of the bed.”

Id. at 3. If an inmate was moved from the bed, they needed to be shackled

at both ankles and placed in a belly chain. Id. This provision also required

a second officer to be present “any time an inmate is removed from the bed

until the inmate is re-secured to their hospital bed.” Id.




       8Different versions of the policies have been submitted; the one referenced
by the Court is the one that was in use at the time that the events of this case took
place.


                           Page 10 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 10 of 39 Document 210
4.     ANALYSIS

       The County Defendants assert that Exum and Bevenue acted

reasonably as a matter of law, and that Wenzel did not know that Terry was

in labor until after she gave birth. The County Defendants also argue that

Terry did not adequately plead or support her Monell claims, and that she

fails to show that any unconstitutional policy was the cause of her giving

birth, unattended, in the MCJ. Finally, the County argues that its use of

restraints was constitutional. Armor also contends that the Monell claims

pled in Terry’s amended complaint are deficient and unsupported by the

evidence.

       For the reasons stated below, the claim against Exum will be

dismissed, and the claims against Wenzel and Bevenue will move forward.

Whether Wenzel and Bevenue knew, or should have known, about Terry’s

labor, and whether they purposefully, knowingly, or recklessly ignored

that she was in labor, are fact intensive issues subject to genuine dispute.

Further, neither of these defendants are entitled to qualified immunity.

       The Court will also dismiss the two Monell claims9 related to Armor

and the County’s intake paperwork policy and their lack of policy for late

term pregnant or laboring inmates. The Monell claim against the County

regarding the use of restraints may go forward.

       4.1       Constitutional Violations

       In the past, courts assessed pretrial detainee medical care claims

under the Eighth Amendment’s deliberate indifference standard,

“reasoning that pretrial detainees are entitled to at least [as] much


       9 Though Terry initially advanced a Monell claim regarding the MCJ’s
failure to adequately train staff, she does not intend to pursue this theory any
further and has agreed to its dismissal. (Docket #180 at 18).


                           Page 11 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 11 of 39 Document 210
protection” as convicted prisoners. Miranda v. Cty. of Lake, 900 F.3d 335, 350

(7th Cir. 2018). The Eighth Amendment’s “deliberate indifference”

standard requires (1) a substantial risk of serious harm that (2) the

government official subjectively knew of and deliberately ignored. Farmer

v. Brennan, 511 U.S. 825, 837 (1994).

       Recently, however, the Seventh Circuit clarified that the subjective

intent component of the deliberate indifference standard does not apply to

Fourteenth Amendment medical claims brought by pretrial detainees.

Miranda, 900 F.3d at 352. Rather, “medical-care claims brought by pretrial

detainees under the Fourteenth Amendment are subject only to the

objective unreasonableness inquiry identified in Kingsley.” Id.

       In establishing this standard, the Seventh Circuit extended the

holding in Kingsley v. Hendrickson, which concluded that “the appropriate

standard for a pretrial detainee’s excessive force claim is solely an objective

one,” because pretrial detainees are not meant to be punished. 135 S. Ct.

2466, 2473 (2015); see also Bell v. Wolfish, 441 U.S. 520, 535 (1979) (“[U]nder

the Due Process Clause, a detainee may not be punished prior to an

adjudication of guilt in accordance with due process of law.”). Kingsley held

that a plaintiff bringing an excessive force claim need only show that the

defendant took a purposeful, knowing, or reckless action and that action

resulted in objectively unreasonable force. 135 S. Ct. at 2472. Kingsley lists

the following as examples of “purposeful, knowing, or possibly reckless”

actions: “the swing of a fist that hits a face, a push that leads to a fall, or the

shot of a taser that leads to the stunning of its recipient.” Id. In other words,

a person acts purposefully, knowingly, or recklessly when their actions put

into motion a series of consequential events—i.e., when they act

volitionally. In requiring this first prong, the Supreme Court makes clear


                           Page 12 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 12 of 39 Document 210
that it intends to foreclose liability for accidents. Id. Kingsley then asks

whether these actions were objectively reasonable under the circumstances,

without regard to what the actor believed. Id.

       In extending Kingsley to a pretrial detainee’s claim of medical

mistreatment,    the     Court   of   Appeals    balanced   two   competing

considerations. First, consistent with Kingsley, pretrial detainees should be

afforded the benefit of objectively reasonable conduct by their custodians.

Miranda, 900 F.3d at 351–52. Second, consistent with longstanding

precedent concerning constitutional claims of medical misconduct, the jail

officials’ failure to properly recognize or treat the plaintiff’s illness must

have been the result of something more than negligence, or even gross

negligence. Id. at 353–54.

       In fashioning a legal standard that accommodates these competing

concerns, the Seventh Circuit created a doctrine that is difficult to apply.

The Court of Appeals held that the standard for medical care under the

Fourteenth Amendment consists of two questions. First, did the medical

defendants act “purposefully, knowingly, or perhaps even recklessly when

they considered the consequences” of their actions? Id. at 353. Second, if so,

was their conduct objectively reasonable, without consideration for their

subjective intent? Id.

       These elements are not clearly aligned with Kingsley. In Kingsley, the

Supreme Court stated that the intent element is intended to foreclose

accidents. 135 S. Ct. at 2472. Miranda’s intent element initially appears to

correlate with this threshold question in Kingsley as to whether the

defendant’s conduct was volitional. But asking whether the defendant

acted purposefully, knowingly, or recklessly with respect to “the

consequences of [his actions]” goes well beyond asking whether he


                           Page 13 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 13 of 39 Document 210
performed volitional acts. Miranda, 900 F.3d at 353. For instance, it is

indisputable that a doctor who performs a surgical removal of a limb

engaged in volitional acts to bring about that removal—he did not cut off

the patient’s leg by accident. It is a far different question to ask whether he

performed those acts with purposeful, knowing, or reckless indifference to

the consequences of the removal—i.e., future infection, removing the

wrong leg, permanent handicap or disfigurement, or other medical

problems. When read this way, Kingsley’s first element, which is intended

to exclude those claims where the harm caused was a complete accident, see

135 S. Ct. at 2472, does not align with the first element set forth in Miranda.

This is to say, Miranda’s volitional element probes the defendant’s

appreciation of the consequences of his actions, while Kingsley’s does not.

       On the other hand, the examples in Kingsley that illustrate intentional

conduct consist entirely of the defendant acting in ways that result in harm.

One does not purposefully, knowingly, or recklessly punch/push/tase

someone without knowing, on some level, that there is a high risk that the

subject is going to get hit/pushed/stunned. Thus, despite the Supreme

Court’s assertion to the contrary, perhaps the first element in Kingsley is

intended to probe the defendant’s appreciation of the consequences of his

action. If that is the case, then the subjective element in Kingsley is less at

odds with Miranda, but no easier to apply in the medical context, for the

reasons discussed below.

       After determining whether the defendant acted purposefully,

knowingly, or recklessly with regard to the consequences of his actions,

Miranda then instructs courts to consider whether the medical defendant’s

actions were objectively reasonable under the circumstances. 900 F.3d at

353–54. In assessing this element, says the Court of Appeals, one should not


                           Page 14 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 14 of 39 Document 210
consider the defendant’s subjective intent or knowledge as to the risk of

harm his actions created. This is consistent with Kingsley, as should be clear

from the discussion above. But this second element is in tension with the

first, and with the longstanding principle that constitutional claims cannot

be premised on medical negligence. If we must assess a jail doctor’s conduct

objectively, how can we ask whether the doctor was “reckless” with respect

to the consequences of his actions? Whether or not he was reckless (or acted

with knowledge or intent) should not matter when considering the

objective reasonableness of his conduct. Thus, the objective inquiry sought

in the second Miranda element is undermined by the intent-based inquiry

of the first.

        What is more, asking whether the jail doctor’s conduct is objectively

reasonable is equivalent to asking whether they were negligent—that is,

whether they failed to demonstrate ordinary, reasonable care in the face of

a risk of harm. To say that a plaintiff must prove that the doctor was at least

reckless with respect to the risk of harm raises the bar set in Kingsley. In

essence, Miranda’s attempt to harmonize Kingsley with the negligence-is-

not-enough principle has created an entirely new standard of constitutional

liability: reckless indifference.

        Doctrinal concerns with Miranda aside, the Court is left to apply the

law to the case before it. Thus, a pretrial detainee’s Fourteenth Amendment

right to medical care is violated if: (1) there was an objectively serious

medical need; (2) the defendant made a volitional act with regard to the

plaintiff’s medical need; (3) that act was objectively unreasonable under the

circumstances in terms of treating or assessing the patient’s serious medical

need; and (4) the defendant “acted purposefully, knowingly, or perhaps

even recklessly” with respect to the risk of harm. Miranda, 900 F.3d at 353–


                           Page 15 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 15 of 39 Document 210
54. Even with the rule articulated above, is difficult to envision a world in

which a defendant acted reasonably under the circumstances, but also acted

purposefully, knowingly, or recklessly with regard to a high risk of harm.

In any application, the Court will be ultimately applying a recklessness test.

The “objective” prong functions primarily as a gatekeeper for the intent

prong.10

       With regard to whether an inmate has a “serious medical need,” the

Court of Appeals continues to find Eighth Amendment precedent to be

instructive on this issue. “An objectively serious medical condition is one

that has been diagnosed by a physician as mandating treatment or one that

is so obvious that even a lay person would perceive the need for a doctor’s

attention.” Gayton v. McCoy, 593 F.3d 610, 620 (7th Cir. 2010) (quotation

marks omitted) (citing Haynes v. Snyder, 546 F.3d 516, 522 (7th Cir. 2008)).

The medical condition “need not be life-threatening to be serious.” Id. While


       10For example, a jury could find that an officer was purposeful, knowing,
or reckless with regard to a risk if he perceived signs that indicated a serious
medical need (for example, cries for help, a red alarm light flashing) and ignored
them. In ignoring those signs, a jury would necessarily find that the officer was
acting objectively unreasonably under the circumstances, since he knew or should
have known that the inmate was calling for help, and a reasonable official in his
situation would have responded. By contrast, if the officer did not perceive any
distress calls, a jury could find that he did not act with purposeful, knowing, or
reckless disregard for a serious risk—and therefore, whether he acted reasonably
or unreasonably wouldn’t matter for the purposes of determining liability.
        In any case, the scenarios in which an officer acts reasonably but also with
purposeful, knowing, or reckless disregard for the health of an inmate are
extremely unlikely. One far-fetched example of this application might be if a jail
riot occurred and an official had a choice between evacuating the jail to save
himself or risking his life to ensure medical care to an ailing inmate. If the official
abandoned the ailing inmate, a jury could find that this was objectively reasonable
under the circumstances of the jail riot, even though the official did so knowing of
the high risk of harm to the inmate. Obviously, this does not make leaving the
inmate the morally correct option, but it might save the officer from legal liability.


                           Page 16 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 16 of 39 Document 210
Defendants dispute whether Terry was actually in labor at various points,

they do not dispute that labor is a “serious medical need” that requires

medical assistance.

       Thus, the issues here are whether (1) the defendants made a

volitional act with regard to Terry’s labor; (2) whether the act was

objectively unreasonable under the circumstances in terms of treating or

assessing her labor; and (3) whether the defendants acted purposefully,

knowingly, or recklessly with respect to the risk of harm. The claims against

each individual will be assessed in turn, followed by a discussion of

qualified immunity.

       4.1.1      Nurse Exum

       Construing the facts in Terry’s favor and accepting that she was,

during the booking process, in the early stages of labor, the Court will

consider whether Exum’s actions towards Terry were objectively

reasonable under the circumstances, and whether she was willful, knowing,

or reckless with respect to the risk of Terry’s labor.11 Miranda, 900 F.3d at

353–54; Kingsley, 135 S. Ct. at 2472–73.

       The Court notes that the only evidence that Exum knew Terry was

in active labor is Terry’s assertion that she told Exum that she was in labor,

which is diluted by the fact that Terry acknowledges that she does not

remember her conversation with Exum. See Gates v. Caterpillar, Inc., 513 F.3d



       11The Court acknowledges that labor is a multi-stage and variously defined
experience that changes from person to person. It seems that Terry was in the early
stages of labor (i.e., intermittent contractions, partial effacement, minor dilation)
up until she was placed in the SMU, at which point she went into active labor (i.e.,
increased contractions in a narrow interval, complete effacement, increased
dilation). That Terry was on opiates for part of this process may have affected her
own experience of the contractions, as well as Exum’s ability to detect them.


                           Page 17 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 17 of 39 Document 210
680, 688 n.5 (7th Cir. 2008) (“[a]s a general rule, a party may not create an

issue of fact by submitting an affidavit whose conclusions contradict prior

deposition or other sworn testimony in the absence of newly-discovered

evidence or the unmistakable need to clarify prior ambiguous

statements.”); see also (Docket #174-9 at 143:21–22, 144:14–24).

       Nevertheless, construing the facts in Terry’s favor, no reasonable

jury could conclude that Exum acted unreasonably, let alone recklessly,

purposefully, or knowingly indifferently to Terry’s complaints of labor, or

Terry’s risk of early labor due to opiate withdrawal. In response to Terry’s

complaints, Exum contacted her supervisor twice, followed up with the

hospital to receive an oral report, requested the discharge papers via fax,

felt for contractions, confirmed with Terry that she (Terry) did not feel

contractions, recorded Terry’s status for the SMU’s night shift nurse, and

received approval to begin the MCJ’s opiate protocol for pregnant women

who are addicted to opiates. It is also worth noting that the SMU is located

on the floor above booking, where Exum was stationed, and Exum did not

see Terry until after Terry gave birth. There is no evidence in the record that

Exum heard Terry’s screams from one floor below, or that Wenzel and

Bevenue told Exum that Terry was calling for help. Therefore, Exum did

not act unreasonably under the circumstances, nor could she be found

reckless with regard to the risk of Terry’s labor.

       4.1.2     Nurse Bevenue

       Bevenue’s liability is also contingent on whether she engaged in a

volitional act with regard to Terry’s labor; whether that act was objectively

unreasonable    under    the   circumstances;    and   whether     she   acted

purposefully, knowingly, or recklessly with respect to the risk of labor.




                           Page 18 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 18 of 39 Document 210
       There are two possible volitional acts here: first, that Bevenue chose

not to check on Terry in the SMU despite the fact that she would have

known, from Exum’s notes, that Terry was nine months pregnant and a

habitual opiate user—and therefore at risk of early labor; or, second, that

she heard Terry scream and cry and decided not to investigate. A

reasonable jury could find that either act was objectively unreasonable

under the circumstances. Moreover, a “properly instructed jury could find

that [Bevenue] made the decision” not to check on Terry in the SMU, or

investigate any cries for help “with purposeful, knowing, or reckless

disregard of the consequences.” Miranda, 900 F.3d at 354. The few facts we

have regarding Bevenue’s involvement in Terry’s care, including whether

she could hear Terry from her workstation at the clinic, are disputed;

therefore, this is an issue for the jury. See Estate of Perry v. Wenzel, 872 F.3d

439, 449–50, 458 (7th Cir. 2017) (summary judgment inappropriate where a

reasonable jury could find that a 10-minute delay in medical attention by a

nurse who observed an inmate in obvious distress but failed to immediately

act was objectively unreasonable).

       4.1.3      Officer Wenzel

       Terry’s evidence, if true, shows that Wenzel decided to ignore her as

she went into labor and delivered her baby in her jail cell.

       Wenzel sat directly across from Terry in the SMU, could see into her

cell when he conducted rounds, and could hear her from inside her cell. He

also had a view of the red flashing light over her door. Terry explains that

shortly after entering the SMU, she began to experience painful

contractions, that she screamed, called for help, and banged on the door at

least three times, but Wenzel ignored her. She also activated the red light

outside of her door to indicate an urgent situation. At some point, Terry’s


                           Page 19 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 19 of 39 Document 210
water broke, and she took off her pants. Sometime later, she gave birth to a

baby who had trouble breathing.

       Wenzel maintains that he performed his rounds diligently, twice an

hour, and neither saw nor heard anything troubling from Terry until 4:46

a.m., when the baby was already born. There is at least one report from a

fellow inmate who heard some screaming that night, and there are no

working security cameras to corroborate either account. This is an issue of

fact for the jury. A reasonable jury could find that Wenzel did not check on

Terry, or that he did check on Terry but unreasonably overlooked (or

ignored) the fact that she was about to deliver, and in fact did deliver, a

baby in a jail cell. These facts could also support a reasonable jury’s

conclusion that Wenzel acted purposefully, knowingly, or recklessly

towards Terry’s serious medical need.

       Defendants argue that Wenzel was entitled to rely on the

information he received from medical professionals (albeit indirectly, from

Montano) that Terry was not in labor. See Arnett v. Webster, 658 F.3d 742,

755 (7th Cir. 2011) (“[I]f a prisoner is under the care of medical experts, a

non-medical prison official will generally be justified in believing that the

prisoner is in capable hands.”). The Supreme Court’s guidance regarding

the status of pretrial detainees in Kingsley does not disturb this rule.

However, even if Wenzel did rely on the information received from medical

professionals, he could not simply ignore Terry when she tried to

communicate to him that her labor was progressing. “Once an official is

alerted of such a risk, the refusal or declination to exercise the authority of

his or her office may reflect deliberate disregard.” Arnett, 658 F.3d at 756.




                           Page 20 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 20 of 39 Document 210
       4.2          Qualified Immunity

       As explained above, there is evidence to support a reasonable jury’s

conclusion that Wenzel and Bevenue violated Terry’s Fourteenth

Amendment          right   because   they   acted     unreasonably      under   the

circumstances and purposefully, knowingly, or recklessly ignored that

Terry was in labor, causing her to give birth alone in a filthy cell. The cases

against them will move forward unless qualified immunity applies.

       Qualified immunity shields officials from the civil consequences of

their constitutional violations when the law did not put the officials on clear

notice that their conduct would be unlawful. Saucier v. Katz, 533 U.S. 194,

202 (2001); see also Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (holding that

the doctrine protects officials from civil liability when they perform

discretionary functions “insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person

would have known.”). “Put simply,” says the Supreme Court, “qualified

immunity protects ‘all but the plainly incompetent or those who knowingly

violate the law.’” Mullenix v. Luna, 136 S. Ct. 305, 308 (2015) (quoting Malley

v. Briggs, 475 U.S. 335, 341 (1986)). The test for qualified immunity is (1)

whether      the    defendants’   alleged   actions    violated   the    plaintiff’s

constitutional rights; and (2) “whether the implicated right was clearly

established at the time.” Jones v. Wilhelm, 425 F.3d 455, 461 (7th Cir. 2005).

Once the defense is raised, the plaintiff bears the burden to defeat it.

Weinmann v. McClone, 787 F.3d 444, 450 (7th Cir. 2015).

       To overcome an assertion of qualified immunity, Terry must first

proffer facts which, if believed, amount to an actual violation of her

constitutional rights. Katz, 533 U.S. at 201. As the discussion above shows,

Terry has done this. Next, Terry must show that the violation of her


                           Page 21 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 21 of 39 Document 210
constitutional rights was “clearly established under applicable law at the

time and under the circumstances that the defendant official acted.”

Easterling v. Pollard, 528 Fed. App’x 653, 656 (7th Cir. 2013). A right is clearly

established if “a reasonable official would understand that what he is doing

violates that right.” Anderson v. Creighton, 483 U.S. 635, 640 (1987). In other

words, a right is clearly established if it would be obvious to a reasonable

state actor that “what they are doing violates the Constitution, or if a closely

analogous case establishes that the conduct is unconstitutional.” Siebert v.

Severino, 256 F.3d 648, 654–55 (7th Cir. 2001). Factually identical precedent

is not necessary; the guiding question is whether the official would have

had “fair warning” that the conduct was unconstitutional. Hope v. Pelzer,

536 U.S. 730, 741 (2002). “In determining whether a defendant’s alleged

actions violated a clearly established right, courts may properly take into

account any information the defendant ought reasonably to have

obtained.” Jones, 425 F.3d at 461.

       This District has noted that the right to medical care for inmates has

been clearly established since Estelle v. Gamble, 429 U.S. 97 (1976). Doe v.

Gustavus, 294 F. Supp. 2d 1003, 1012 (E.D. Wis. 2003). In Gustavus, this Court

denied summary judgment and qualified immunity under facts very

similar to this: where correctional facility staff allegedly ignored a pregnant

detainee’s cries for help as she went into labor, and the detainee was forced

to give birth, unassisted, in her cell. Id. The Gustavus court, applying the

deliberate indifference standard, held that qualified immunity did not

apply because the right to be free from deliberately indifferent medical care

is clearly defined, and no reasonable medical officer could find otherwise.

Id.; see also Cooper v. Casey, 97 F.3d 914, 916 (7th Cir. 1996) (“Deliberately to




                           Page 22 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 22 of 39 Document 210
ignore a request for medical assistance has long been held to be a form of

cruel and unusual punishment.”).

       Additionally, the “objectively unreasonable” standard for pretrial

detainees that was announced in Miranda is not entirely new. It is well-

established in this circuit that arrestees awaiting their probable cause

hearings have a right to medical care that is protected under the Fourth

Amendment’s “objectively unreasonable” standard. Currie v. Chhabra, 728

F.3d 626, 629–30 (7th Cir. 2013); Ortiz v. City of Chicago, 656 F.3d 523 (7th Cir.

2011). In Ortiz, the Seventh Circuit denied qualified immunity despite

uncertainty over whether the “deliberately indifferent” or “objectively

unreasonable” standard governed medical care claims for arrestees because

it was clear that the Fourth Amendment protected arrestees at the time of

the plaintiff’s death. Id. at 538. The Court of Appeals further held that

qualified immunity was inappropriate because defendants’ conduct would

not have been entitled to qualified immunity under the deliberate

indifference standard anyway. Id. at 538–39.

       Thus, Miranda does not change the qualified immunity standard.

The defendants may argue that they believed they were held to the

deliberate indifference standard and did not realize that they would be

subject to the objectively unreasonable standard of care. This is, in effect, an

argument that defendants were unaware that they had to act a modicum

more humanely towards Terry. Such a miserable contention is not

persuasive. Id.; see also Currie, 728 F.3d at 632–33 (striking down defendants’

argument that they “had no way of knowing that the Fourth Amendment,

rather than some more forgiving constitutional provision, would govern

this particular arrestee’s medical care.”). Although mistakes of fact may

sometimes give rise to qualified immunity, Pearson v. Callahan, 555 U.S. 223,


                           Page 23 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 23 of 39 Document 210
231 (2009), it was well established at the time that the Fourteenth

Amendment protected pretrial detainees. Wolfish, 441 U.S. at 523.

Moreover, Terry’s arguments, “if credited by a jury, satisf[y] the deliberate

indifference standard because she argues that the defendants were

subjectively aware that she had a serious medical condition. . .and failed to

respond.” Ortiz, 656 F.3d at 538. Therefore, even if the Court applied the old

standard, qualified immunity would not be appropriate. As discussed

below, Wenzel and Bevenue knew, without a doubt, that detainees had a

constitutional right to medical care, and they also knew that they were not

allowed to ignore serious medical risks. That was true under the deliberate

indifference standard, and it remains true under the new standard. See

Estate of Williams v. City of Milwaukee, 16-CV-659-JPS, at 8 (E.D. Wis. Nov.

15, 2018).

       4.2.1     Qualified Immunity as to Wenzel

       As discussed above, Wenzel’s liability for a Fourteenth Amendment

violation rests on whether he purposefully, knowingly, or recklessly

ignored that Terry was in labor. Qualified immunity would apply unless

Wenzel had “fair warning” that ignoring Terry’s cries for help was

unconstitutional. Hope, 536 U.S. at 740. An official has “fair warning” when

the violation is “so obvious that a reasonable [correctional officer] would

know that what they are doing violates the Constitution,” or if a closely

analogous case establishes that ignoring a pregnant inmate’s cries for help

while she goes into labor is unconstitutional. Siebert, 256 F.3d at 654–55.

       Despite a lack of specialized medical training, Wenzel was trained

on the constitutional standard of healthcare for jail inmates, including the

concept of deliberate indifference. He attended a PowerPoint presentation

that discussed Estelle v. Gamble and was informed that “deliberate


                           Page 24 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 24 of 39 Document 210
indifference” could arise from a failure to take appropriate action upon

noticing an inmate’s serious medical concern. Wenzel’s training materials

show that he completed a worksheet where he correctly acknowledged that

officers should never ignore an inmate’s complaint, even if they personally

do not believe it is urgent.

       The deliberate indifference training materials that Wenzel saw, as

well as the worksheets that he correctly completed, in which he

acknowledged that an inmate’s call for help should never be ignored, gave

Wenzel fair warning that ignoring Terry’s cries for help was

unconstitutional. This remains true under Miranda. The violation becomes

more obvious in light of the fact that Wenzel was in the Special Medical Unit,

the whole point of which is to provide inmates who have medical needs

with greater supervision than the general population. It would have been

obvious that ignoring a call for help in the SMU could give rise to a

constitutional violation. Siebert, 256 F.3d at 654–55. The fact that the

Fourteenth Amendment now uses an objective rather than subjective test

does not gut the caselaw of its advisory effect that officers cannot ignore

detainees’ serious medical needs.

       If the contours of this violation were not obvious enough, there is

also an analogous case from this very District that denied qualified

immunity to a corrections officer who ignored a pregnant inmate’s cries for

help as she went into labor. Gustavus, 294 F. Supp. 2d at 1012. While a

factually analogous case is not necessary to preclude qualified immunity, it

definitively put Wenzel on notice that it was a constitutional violation to

ignore a pregnant inmate who is going into labor. Ortiz, 656 F.3d at 532–34,

538 (declining qualified immunity against officers when there was evidence




                           Page 25 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 25 of 39 Document 210
that they were on notice of an arrestee’s serious medical need and ignored

it).

       4.2.2     Qualified Immunity as to Bevenue

       As discussed above, Bevenue’s Fourteenth Amendment violation

also rests on whether she purposefully, knowingly, or recklessly ignored

the fact that Terry was in labor. The facts suggest that Bevenue may have

known that Terry was going into labor. Qualified immunity would apply

unless Bevenue had “fair warning” that ignoring Terry’s cries for help was

unconstitutional. Hope, 536 U.S. at 740. Bevenue had “fair warning” if the

violation was “so obvious that a reasonable [official] would know that what

they are doing violates the Constitution, or if a closely analogous case

establishes that” ignoring a pregnant inmate’s cries for help while she goes

into labor is unconstitutional. Siebert, 256 F.3d at 654–55.

       Bevenue worked as a nurse in a correctional facility, and therefore

would be well-acquainted with the contours of an inmate’s constitutional

right to medical care. Like Wenzel, Bevenue would have had fair warning

that she could not ignore cries for help, particularly those from the SMU. Id.

Gustuvus also instructs, in no uncertain terms, that ignoring a pregnant

woman’s cries for help as she goes into labor is a constitutional violation.

Gustavus, 294 F. Supp. 2d at 1012. Therefore, if Bevenue did ignore Terry’s

cries for help as she went into labor, qualified immunity would not protect

Bevenue from suit because “qualified immunity does not insulate state

actors from violations of clearly established law.” Id. at 1011–1012.

       4.3     Monell Claims

       A municipal entity can be liable under Section 1983 only when there

is a predicate constitutional violation, and that violation is a result of that

entity’s (1) express policy; (2) widespread custom or practice; or (3) a


                           Page 26 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 26 of 39 Document 210
decision by an agent of the entity who has “final policymaking authority.”

Darchak, 580 F.3d at 629. As a contractor that provides essential services to

state detainees, Armor healthcare may also be liable. Shields v. Ill. Dep’t of

Corr., 746 F.3d 782, 790 (7th Cir. 2014); Iskander v. Vill. of Forest Park, 690 F.2d

126, 128 (7th Cir. 1982). Terry does not allege that her constitutional

deprivations were the result of an express policy or an agent’s decision,

therefore she proceeds on a “custom or practice” theory of municipal

liability for Armor and the County.

       In order to bring a Monell claim, Terry must provide evidence that

would lead to a reasonable inference that the County and Armor were

deliberately indifferent to their subordinates’ widespread practice of

ignoring the serious medical needs of MCJ inmates.12 Palmer v. Marion Cty.,

327 F.3d 588, 596 (7th Cir. 2003); Bd. of Cty. Comm’rs of Bryan Cty., Okla. v.

Brown, 520 U.S. 397, 407 (1997). Deliberate indifference is typically proven

in Monell cases by “a pattern of similar constitutional violations.” Connick v.

Thompson, 563 U.S. 51, 62 (2011). If there is no well-established custom or

practice that would put the County or Armor on notice of a de facto policy

and its constitutional implications, liability may still attach if this act or

omission was “so likely to result in the violation of constitutional rights”

that there was an “obvious” need to correct it. City of Canton, Ohio v. Harris,

489 U.S. 378, 390 (1989).

       A de facto policy of constitutional violations occurs if the defendants

had a habit of purposefully ignoring a need for action. Id. at 388; Calhoun v.

Ramsey, 408 F.3d 375, 380 (7th Cir. 2005). Thus, Terry must provide evidence



        Miranda does not change the Monell standard, even when applied to jail
       12

inmate medical claims.


                           Page 27 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 27 of 39 Document 210
that the defendants had notice of an ongoing problem such that allowing

the problem to endure was akin to a conscious choice among alternatives.

Canton, 489 U.S. at 389, City of Okla. City v. Tuttle, 471 U.S. 808, 823 (1985).

This can be done by “showing a series of bad acts and inviting the court to

infer from them that the policymaking level of government was bound to

have noticed what was going on and by failing to do anything must have

encouraged or at least condoned, thus in either event adopting, the

misconduct of subordinate officers.” Jackson v. Marion Cty., 66 F.3d 151, 152

(7th Cir. 1995).

       In rare scenarios, a municipality “could be liable under § 1983

without proof of a pre-existing pattern of violations” if “the

unconstitutional consequences of failing to train [were] patently obvious.”

Connick, 563 U.S. at 64; Canton, 489 U.S. at 390 n.10. This single-incident or

“obvious need” theory applies only in situations where “a violation of

federal rights may be a highly predictable consequence of a failure to equip

[officials] with specific tools to handle recurring situations.” Brown, 520

U.S. at 409. An “obvious need” will be actionable where policymakers

“know to a moral certainty” that a constitutional violation will occur but

for adequate safeguards. See Canton, 489 U.S. at 390 n.10 (describing the

obvious need to train armed officers in the use of deadly force when

arresting fleeing felons). Finally, under either theory, Terry must provide

evidence that the custom at issue directly caused her injury, which arose

from her traumatic childbirth experience. Canton, 489 U.S. at 391; Brown, 520

U.S. at 404 (requiring a “direct causal link between the municipal action and

the deprivation of federal rights.”).




                           Page 28 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 28 of 39 Document 210
        4.3.1     Policy of Admitting Inmates who had Recently Returned
                  from the Hospital Without Adequate Hospital
                  Paperwork13

       Terry asserts that Armor and the County’s custom of admitting

recently hospitalized inmates without adequate hospital paperwork caused

her to give birth, alone, in a filthy cell. Terry contends that this custom

amounted to a de facto policy of violating inmates’ constitutional rights to

adequate medical care. Canton, 489 U.S. at 390; Calhoun, 408 F.2d at 380;

Tuttle, 471 U.S. at 823.

       Armor has a written policy that predicates readmission to jail from

the hospital on detailed, individual discharge summaries for inmates.

(Docket #182-30 at 2). Nevertheless, there is evidence that Armor and the

County were on notice of the practice of admitting inmates back to the MCJ



       13Armor contends that Terry’s Monell claims must be dismissed because
they “exceed the scope” of the Court’s previous order, which allowed Terry to
amend her complaint to cure her deficiently pled Monell claim that the County and
Armor had a widespread custom of ignoring inmates’ serious medical needs.
(Docket #163 at 11–12; Docket #127). Yet Terry has attempted to do just that. An
amended pleading is permissible if it relates back to the original pleading, i.e., if
“the amendment asserts a claim or defense that arose out of the conduct,
transaction, or occurrence set out—or attempted to be set out—in the original
pleading.” Fed. R. Civ. P. 15(c)(1)(B). Terry’s Monell claims all arise out of the
events on March 9-10 that led to her giving birth, unattended, in a jail cell.
        Armor also contends that these new claims “contradict” Terry’s prior
statements and are not derivative of the prior claim that she experienced a
“complete lack of medical care.” (Docket #163 at 12). Terry has not wavered from
her allegation that she did not receive medical care when she gave birth,
unattended, in a jail cell. Since “even significant changes to a complaint…can relate
back so long as the defendant had fair notice of the substance of the new
allegations from the outset,” the Court finds that these amendments, all of which
relate back to Terry’s unassisted jail cell birth, gave the defendants adequate notice
of the substance of the new allegations and policies at issue, and therefore are not
prejudicial. Supreme Auto Trans., LLC v. Arcelor Mittal UCA, Inc., 902 F.3d 735, 741
(7th Cir. 2018) (quotations omitted).


                           Page 29 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 29 of 39 Document 210
without proper paperwork. (Docket #165 ¶ 15; Docket #174-14 at 62:7–65:4;

Docket #175-24 at 117:3–118:15). However, Terry has not provided evidence

that this lapse in policy resulted in the constitutional violations of anyone

other than herself. See Connick, 563 U.S. at 62 (requiring “a pattern of similar

constitutional violations.”). She claims that her case “shows why

Defendants’ widespread practice is so problematic,” but fails to point to a

single other case where the lapse in policy resulted in another person’s

constitutional rights being violated. (Docket #180 at 21). Additionally, this

same evidence also shows that Armor and the County were trying to

resolve the issue—and enforce the written policy—through outreach,

dialogue with hospitals, and, when patients arrived without adequate

paperwork, reaching back out to the hospital to acquire it. Although an

unconstitutional policy may be inferred where there is a “series of bad acts”

such that the government “was bound to have noticed what was going on,”

Jackson, 66 F.3d at 152, the reverse is not true. That is, the government’s

notice of a series of policy infractions does not, absent a related series of

constitutional violations, point to an unconstitutional policy. See Connick,

563 U.S. at 61 (requiring “notice that its program will cause constitutional

violations.”).

       Also, there is no evidence that Armor or the County “encouraged or

at least condoned” the practice of admitting inmates without proper

paperwork. Jackson, 66 F.3d at 152. To the contrary, the evidence

demonstrates that Armor and the County were actively trying to enforce

their policy requiring discharge paperwork from the hospital and, where

discharge paperwork was not immediately available, took to calling the

discharging hospital to get necessary information while keeping the inmate

under supervision in the SMU. Indeed, when Terry arrived back at the MCJ


                           Page 30 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 30 of 39 Document 210
without adequate paperwork, Exum raised the issue with Dr. Buono and

then called the hospital in order to get the paperwork, which was obtained

less than 12 hours later. It is not plainly obvious that a delay of less than 12

hours in discharge paperwork would result in a constitutional violation—

presumably, when a person is discharged from a hospital, it is because they

no longer have a serious medical need. While there are clearly issues in

carrying out the letter of the policy that should not be taken lightly, these

enforcement issues do not give rise to a custom of admitting detainees

without discharge paperwork “so entrenched and well-known as to carry

the force of policy.” Rice v. Corr. Med. Servs., 675 F.3d 650, 675 (7th Cir. 2012);

c.f. Davis v. Carter, 452 F.3d 686, 688–89, 692–93 (7th Cir. 2006) (finding

evidence of a custom of delaying methadone treatment where staff duties

were undefined, there were no time limits for implementing treatment, and

there was no record of whether inmates were actually brought to the

pharmacy to receive treatment).

       Thus, while there is evidence of multiple deficiencies in carrying out

this policy, there is no evidence that the defendants have acted with

“deliberate indifference to the rights of persons” such as Terry, who were

admitted back to jail without the appropriate paperwork. Canton, 489 U.S.

at 388. Rather, the evidence demonstrates the defendants’ ongoing efforts,

however Sisyphean, to work with hospitals in order to acquire the proper

intake paperwork at or shortly after booking. No reasonable jury could find

that this amounts to deliberate indifference. Accordingly, this claim must

be dismissed.




                           Page 31 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 31 of 39 Document 210
       4.3.2     Policy of Failing to Develop a Nursing Protocol for
                 Inmates in Late Term Pregnancy and Labor

       Terry also alleges a Monell claim based on Armor and the County’s

failure to establish a nursing protocol for inmates in late term pregnancy

and labor. In order to survive summary judgment, Terry must establish that

the defendants’ “gap” in their policies reflected a decision to act

unconstitutionally. Calhoun, 408 F.3d at 380. In assessing whether this

absence of a policy or protocol gives rise to a decision to violate an inmate’s

right to medical care, the Court will look for “evidence that there is a true

municipal policy at issue, not a random event.” Id. To be sure, the absence

of a policy could mean a variety of things—“that the government sees no

need to address the point at all, or that it believes that case-by-case decisions

are best, or that it wants to accumulate some experience before selecting a

regular course of action.” Id.

       Terry has not provided evidence that the defendants’ lack of late

term pregnancy and labor policy is tantamount to the defendants’ decision

to violate the constitutional rights of women in late pregnancy. There is

evidence of only one other case of a woman giving birth at the MCJ, which

occurred two years after Terry’s experience. Perhaps it is obvious that a

pregnant woman would, at some point, go into labor in jail and require

some form of medical intervention. However, the evidence demonstrates

that there is a written policy of sending women to external facilities to

deliver, and this policy that has not been so woefully deficient as to result

in a myriad of women giving birth unassisted in jail. In addition to

requiring deliveries to occur at a hospital, Armor’s policies describe (albeit

perfunctorily) the various other measures of prenatal and medical

monitoring that Armor will take throughout the pregnancy. Finally, the


                           Page 32 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 32 of 39 Document 210
individual defendants’ depositions clearly show that the concept of a

woman giving birth in jail was unusual and not at all desired by either

Armor or the County. (See Docket #174-21 at 96:24–97:1, 97:18–22

(explaining that master control asked if Wenzel was kidding because “it

seems unlikely that somebody would give birth in a jail. It’s something you

don’t expect to hear. It’s something that you don’t expect to say.”); Docket

#174-14 at 88:13–14 (“I don’t think it could have been predicted that this

would happen”); Docket #174-13 at 151:17–24 (“[T]hat is not a goal that any

nurse wants to have, is someone having a baby in a jail. . .We see people all

the time on floors that are in labor and we get them out of there and we get

them to the hospital on time.”)).

       The facts of Terry’s own case reflect a working policy geared towards

ensuring that labor does not occur in jail: upon first arriving at the MCJ and

complaining of possible labor, Terry was sent to the hospital for evaluation.

Terry has failed to provide evidence that Armor or the County knowingly

lacked a policy of handling late pregnant or laboring women that would

give rise to a constitutional rights violation. Rather, the evidence in this case

suggests that her constitutional violations stemmed from choices made by

Bevenue and Wenzel. Therefore, this Monell claim fails as well.

       4.3.3     Fourteenth Amendment Shackling Claim

       Terry’s final Monell claim is that the County is liable for its

widespread policy of shackling hospitalized inmates regardless of their

medical condition. See (Docket #180 at 28; Docket #129 ¶ 20). The County

currently has an express written policy that does not require the shackling

of pregnant inmates except in extraordinary circumstances; however, this

policy was not in place when Terry gave birth. Rather, when Terry gave

birth, the County’s policy required all inmates, regardless of individual


                           Page 33 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 33 of 39 Document 210
circumstances, to be shackled at two points while hospitalized. (Docket

#174-27 at 3–4).

       Terry alleges that she was shackled as a matter of course pursuant to

the County’s restraint policy, which did not take into account her pregnant

and post-natal condition, and which violated of her liberty interests and her

rights to be free from cruel and unusual punishment.14 (Docket #129 ¶¶ 20,

88); Monell, 436 U.S. at 694–95; see also May v. Sheahan, 226 F.3d 876, 884 (7th

Cir. 2000) (holding that the Fourteenth Amendment prohibits the “use of

bodily restraints in a manner that serves to punish a pre-trial detainee.”).

       The use of bodily restraints on a pretrial detainee amounts to

unconstitutional punishment “if their use is not rationally related to a

legitimate non-punitive government purpose.” May, 226 F.3d at 884 (citing

Wolfish, 442 U.S. at 561). The use of bodily restraints is also punishment if

“they appear excessive in relation to the purpose they allegedly serve.” Id.

While shackling a hospital detainee certainly furthers the legitimate, non-

punitive purpose of ensuring security, the Seventh Circuit has observed

that “it is hard to see how shackling an AIDS patient to his or her bed

around the clock, despite the continuous presence of a guard, is an

appropriate policy for carrying out this purpose.” Id. Indeed, “in the

absence of any indication that the detainee poses some sort of security risk,”

such a policy would be “plainly excessive.” Id.; see also Bell v. McAdory, 820

F.3d 880, 882 (7th Cir. 2016) (States “must treat detainees at least as well as

prisoners, and often they must treat detainees better—precisely because




       14Terry has dropped her claim for deliberate indifference regarding the
use of restraints. See (Docket #180 at 28 n.15).


                           Page 34 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 34 of 39 Document 210
detainees (whether civil or pretrial criminal) have not been convicted and

therefore must not be punished.”).

       The defendants have provided evidence that Terry was a flight risk

in light of her criminal record, which consisted entirely of failure to appear

charges, minor drug possession, and bail jumping. On the one hand, there

was no evidence that Terry was a violent person or a danger to herself or to

others. On the other, she had a pattern of being uncooperative with law

enforcement efforts. If those were the only facts in this case, the County’s

use of restraints may have been rationally related to ensuring that she did

not attempt to escape during her period of hospitalization.

       However, in each instance that Terry was shackled in the hospital,

she was also in the company of at least one, sometimes two, armed officials,

thereby ensuring that she would be constantly monitored and unlikely to

escape. Most importantly, in each instance that she was shackled, she was

also either (1) nine months pregnant and lethargic from heroin, or (2)

immediately post-partum and going through severe withdrawal. There is

no evidence that she was violent during her withdrawal, only that her

withdrawal required medical monitoring. It seems unlikely that under

those conditions, she would pose any kind of security threat.15 If the

purpose of the restraints was to ensure that Terry remained in MCJ custody,



       15 The County Defendants offer seven isolated incidents, spanning an 18-
year period, where inmates or pretrial detainees attempted to escape while being
hospitalized. The Court does not have data regarding the overall number of
inmates who were hospitalized in that time period, and therefore cannot evaluate
the statistical significance of these events. However, it is unconvincing that one
attempted hospital escape every 2.57 years requires every hospitalized MCJ inmate
and pretrial detainee, no matter how feeble, be restrained at multiple points and
monitored by an armed official. At the very least, this evidence does not entitle the
County Defendants to judgment as a matter of law.


                           Page 35 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 35 of 39 Document 210
a reasonable jury could find that they “appear excessive in relation to the

purpose they allegedly serve.” May, 226 F.3d at 884. This is particularly true

of the belly restraint, which Terry alleges was used to transport her to the

hospital in the first instance.

       Neither party disputes the existence of the County restraint policy,

(Docket #174-27 at 3–4), as well as the evidence of its practice. The

depositions show that MCJ employees restrained all inmates the exact same

way, regardless of their individual histories or medical conditions. For

example, Kevin Nyklewicz, the deputy inspector at the MCJ, noted that the

MCJ’s general policy was to “properly secure[] [all inmates] before they

leave the jail, which will be the restraints.” (Docket #182-35, 18:10–22). He

further acknowledged that every inmate, no matter the reason for their

hospitalization, would be attached to the hospital bed by a leg iron and

wrist cuff unless there was a medical reason identified by a medical

professional at the hospital as to why this should not be done. Id. at 19:5–

17. They would be shackled and cuffed even if they were given an epidural.

Id. at 22:14–16. He stated that “[t]he shackling policy is to make sure the

inmate returns back to the facility from which they came,” id. at 33:4–6, but

acknowledged that no individualized assessment of security threat or flight

risk was ever conducted prior to shackling. Id. at 38:22–39:16. The shackling

policy was enforced even when inmates were under the supervision of

armed officials. (Docket #182-36 at 14:25–15:11). Elizabeth Freuck, the

deputy sheriff, who estimates that she has served on hospital watches for

approximately 80 pregnant inmates, also acknowledges that the “typical”

policy was to have a two-point restraint at all times. Id. at 15:8–11.

       Terry must also establish that the policy was “the moving force”

behind her constitutional injury. Brown, 520 U.S. at 404–05. Terry was


                           Page 36 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 36 of 39 Document 210
shackled in at least two places almost the entire time that she was

hospitalized, pursuant to MCJ policy. If a jury determines that the restraints

caused her constitutional injury, then there is no question that the policy

was the moving force behind it.

       5.     CONCLUSION

       Viewing the evidence in the light most favorable to Terry, the Court

finds genuine issues of material fact regarding the liability of Wenzel and

Bevenue, as well as the constitutionality of the County restraint policy.

However, there are no such issues regarding Exum’s liability, or the Monell

claims regarding either the policy for admitting recently hospitalized

inmates into jail without adequate discharge paperwork, or the gap in

policy for late term pregnant or laboring women.

       Accordingly,

       IT IS ORDERED that Defendant Armor Correctional Health

Services, Inc.’s motion for summary judgment (Docket #162) be and the

same is hereby GRANTED;

       IT IS FURTHER ORDERED that Defendants Morgan Bevenue,

County of Milwaukee, Carolyn Exum, Margaret Hoover, Richard R.

Schmidt, and Brian Wenzel’s motion for summary judgment (Docket #169)

be and the same is hereby GRANTED in part and DENIED in part;

       IT IS FURTHER ORDERED that all claims against Defendant

Margaret Hoover (Docket #129 at 11–16) be and the same are hereby

DISMISSED with prejudice pursuant to the parties’ stipulation of

dismissal (Docket #186) and that, accordingly, Plaintiff’s claim for

supervisory liability (Docket #129 at 14–16) be and the same is hereby

DISMISSED;




                           Page 37 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 37 of 39 Document 210
       IT IS FURTHER ORDERED that all claims against Defendant

Richard R. Schmidt in his official capacity (Docket #129 at 11–14, 17–18) be

and the same are hereby DISMISSED as duplicative;

       IT IS FURTHER ORDERED that all claims against Defendant

Carolyn Exum (Docket #129 at 11–14, 16) be and the same are hereby

DISMISSED;

       IT IS FURTHER ORDERED that Plaintiff’s Monell claims regarding

the policy for handling discharge orders (Docket #129 at 11–14) and the

policy for late term pregnant and laboring detainees (Docket #129 at 11–14)

be and the same are hereby DISMISSED;

       IT IS FURTHER ORDERED that Plaintiff’s Monell claim regarding

the Milwaukee County Jail’s failure to adequately train staff (Docket #129

at 11–14) be and the same is hereby DISMISSED pursuant to Plaintiff’s

agreement (Docket #180 at 18);

       IT IS FURTHER ORDERED that Plaintiff’s claim that the use of

restraints constituted deliberate indifference to a serious medical need

(Docket #129 at 17) be and the same is hereby DISMISSED pursuant to

Plaintiff’s agreement (Docket #180 at 28 n.15);

       IT IS FURTHER ORDERED that Plaintiff’s failure to intervene

claims (Docket #129 at 16) be and the same are hereby WAIVED;

       IT IS FURTHER ORDERED that Defendants Richard R. Schmidt,

Carolyn Exum, Margaret Hoover, and Armor Correctional Health Services,

Inc. be and the same are hereby DISMISSED from this action;

       IT IS FURTHER ORDERED that Plaintiff has ten (10) days after the

issuance of this order to identify the Unknown Employees of Milwaukee

County Jail and Unknown Jail Supervisors named in the First Amended




                           Page 38 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 38 of 39 Document 210
Complaint; failure to do so will result in their dismissal without further

notice; and

      IT IS FURTHER ORDERED that the parties’ motions to seal (Docket

#160, #168, #185, and #196) be and the same are hereby GRANTED.

      Dated at Milwaukee, Wisconsin, this 11th day of January, 2019.

                                 BY THE COURT:




                                 ____________________________________
                                 J. P. Stadtmueller
                                 U.S. District Court




                           Page 39 of 39
Case 2:17-cv-01112-JPS Filed 01/11/19 Page 39 of 39 Document 210
